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          David J. Jordan (#1751)
          djordan@foley.com
          Wesley F. Harward (15623)
          wharward@foley.com
          FOLEY & LARDNER LLP
          299 S. Main Street, Suite 2000
          Salt Lake City, UT 84111
          Telephone: (801) 401-8900

          Attorneys for Defendant Corporation of the President
            of The Church of Jesus Christ of Latter-day Saints

                                  IN THE UNITED STATES DISTRICT COURT

                                             CENTRAL DISTRICT OF UTAH

          LAURA A. GADDY, LYLE D. SMALL,
          and LEANNE R. HARRIS individually
          and on behalf of all others similar situated,      NOTICE OF CHANGE OF ADDRESS

                               Plaintiffs,
                                                             Case No. 2:19-cv-00554-RJS-DBP
                    v.
                                                             The Honorable Robert J. Shelby
          CORPORATION OF THE PRESIDENT                       The Honorable Dustin B. Pead
          OF THE CHURCH OF JESUS CHRIST
          OF LATTER-DAY SAINTS, a Utah
          corporation sole,

                               Defendant.



                   Please take notice that the address and contact information for David J. Jordan and

        Wesley F. Harward, counsel of record for Defendant Corporation of the President of The Church

        of Jesus Christ of Latter-day Saints has changed. Their new address and contact information is

        as follows:

                   David J. Jordan
                   Wesley F. Harward
                   FOLEY & LARDNER LLP
                   299 S. Main Street, Suite 2000
                   Salt Lake City, UT 84111
                   Telephone: (801) 401-8900
                   Email: djordan@foley.com
                   Email: wharward@foley.com


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                   DATED: March 8, 2022.

                                                FOLEY & LARDNER LLP


                                                /s/ David J. Jordan
                                                David J. Jordan

                                                Attorneys for Defendant Corporation of the
                                                President of The Church of Jesus Christ of
                                                Latter-day Saints


                                                FOLEY & LARDNER LLP


                                                /s/ Wesley F. Harward
                                                Wesley F. Harward

                                                Attorneys for Defendant Corporation of the
                                                President of The Church of Jesus Christ of
                                                Latter-day Saints




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                                         CERTIFICATE OF SERVICE

                   On March 8, 2022, I caused a true and correct copy of the foregoing NOTICE OF

        CHANGE OF ADDRESS to be served via the Court’s electronic filing system upon the

        following:


                     Kay Burningham
                     Kay Burningham, Attorney at Law
                     299 S. Main Street, Suite 1375
                     Salt Lake City, Utah 84111
                     kay@kayburningham.com




                                                            /s/ Stacy Kamaya




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